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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                    LONDON DIVISION
                               CRIMINAL NO.: 07-MJ-06011-REW

 UNITED STATES OF AMERICA                                                              PLAINTIFF,

 V.                                MOTION TO WITHDRAW

 GEORGE CLARK                                                      DEFENDANT
 ______________________________________________________________________________

        Comes now, Warren N. Scoville, Attorney at Law, and MOVES this Court for an Order

 allowing him to withdraw as Counsel for the Defendant, GEORGE CLARK, and allowing said

 Defendant a reasonable amount of time in which to obtain new counsel. As grounds for this

 Motion counsel states that when he accepted this appointment he did not realize the complexity

 of the case and that this is in no way a reflection upon Mr. Clark. Furthermore, counsels

 paralegal is ill, has been placed off work by a physician and is not expected to return to work for

 a substantial period of time. The other attorney in the firm is very pregnant and due to deliver in

 the near future and will also be out of the office for a substantial period of time. With the current

 staffing issues of the counsel’s office and the complexity of the case it would be ill-advised for

 him to continue in his representation. This is in no way a reflection of ill-will upon the

 Defendant.

                                                          Respectfully submitted by,



                                                           /s/ Warren Scoville
                                                         HON.WARREN N. SCOVILLE
                                                         THE SCOVILLE FIRM
                                                         105 North Main Street
                                                         London, Kentucky 40741
                                                         PHONE: (606) 878-6400
                                                         ATTORNEY FOR DEFENDANT
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                                     NOTICE OF HEARING

       Notice is hereby given that the foregoing Motion shall be brought on for hearing before
 Judge Wier at the convenience of the Court.


                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing motion was electronically
 filed using the CM/ECF system which will send a notice filing to the following:

 Hon. Roger West

        I further certify that a copy of the foregoing was mailed to the following:

 George Clark
 Laurel County Detention Center
 206 West 4th Street
 London, Ky. 40741

                                                                  /s/ Warren N. Scoville
                                                                 ATTORNEY FOR DEFENDANT
